

Matter of Katherine J. v Everlene S. (2023 NY Slip Op 04929)





Matter of Katherine J. v Everlene S.


2023 NY Slip Op 04929


Decided on October 03, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 03, 2023

Before: Kern, J.P., Moulton, Mendez, Higgitt, O'Neill Levy, JJ. 


Docket No. O-02956/22 Appeal No. 664 Case No. 2022-05391 

[*1]In the Matter of Katherine J., Petitioner-Appellant,
vEverlene S., Respondent-Respondent.


Law Office of Lewis S. Calderon, Jamaica (Lewis S. Calderon of counsel), for appellant.
Geoffrey P. Berman, Larchmont, for respondent.



Order, Family Court, New York County (Hasa A. Kingo, J.), entered on or about November 30, 2022, which, after a fact-finding hearing, denied the family offense petition and dismissed the proceeding, unanimously affirmed, without costs.
Petitioner, who is respondent's elderly aunt, testified that on one occasion, during an argument about a missing check sent in the mail, respondent shoved her, causing her to fall into a chair. Respondent adamantly denied that she ever pushed petitioner and asserted that she was not expecting any check in the mail and that she considered the aunt to be a mother to her. Family Court, having had the opportunity to observe the witnesses' demeanor, credited respondent's testimony and found petitioner's testimony did not make out a family offense or warrant the court's intervention. The court's credibility determinations are entitled to great deference, and this Court finds no reason to disturb those determinations in this case (see Matter of Marilyn C. v Olsen C., 132 AD3d 406, 406 [1st Dept 2015]; Matter of Skarlith G. v Guelvis J.C., 184 AD3d 470, 471 [1st Dept 2020]).
We have considered petitioner's remaining arguments and find them unavailing.THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 3, 2023








